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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

   STATE OF OKLAHOMA,

                 Plaintiff,

   v.                                                  Case No. 05-CV-00329-GKF-SH

   TYSON FOODS, INC., et al.,

                 Defendants.

                                                ORDER

          The parties are hereby ordered to mediation before retired Tenth Circuit Chief Judge

   Deanell Reece Tacha, and the parties shall submit a Joint Status Report within fourteen (14) days

   following the conclusion of the mediation.

          The status conference previously set on June 16, 2023, is hereby stricken pending

   mediation.

                 IT IS SO ORDERED this 12th day of June 2023.
